 1   Steven M. Olson, Esq. (SB No. 146120)
     Jacob M. Faircloth, Esq. (SB No. 305390)
 2   LAW OFFICE OF STEVEN M. OLSON
 3   50 Old Courthouse Square, Suite 401
     Santa Rosa, CA 95404
 4   Telephone: (707) 575-1800
     Facsimile: (707) 575-1867
 5   Email: smo@smolsonlaw.com
 6

 7   Counsel to TIMOTHY W. HOFFMAN,
     Trustee in bankruptcy
 8

 9
                                 UNITED STATES BANKRUPTCY COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11                                        SANTA ROSA DIVISION
12

13

14   In re                                                     Case No. 20-10381
                                                               Chapter 7
15   FIRST INTERSTATE CONTRACTORS, INC.,
16

17                          Debtor(s).

18
             APPLICATION FOR ORDER AUTHORIZING EMPLOYMENT OF ACCOUNTANT
19
                           PURSUANT TO SECTION 11 U.S.C. SECTION 327(a)
20

21   TO: THE HONORABLE CHARLES NOVACK,
         UNITED STATES BANKRUPTCY JUDGE
22
              1. TIMOTHY W. HOFFMAN ("Applicant") is the duly appointed, qualified and acting
23
     Chapter 7 trustee herein.
24
              2. The Applicant deems it to be in the best interest of this estate to employ Bachecki,
25
     Crom & Co., LLP, Certified Public Accountants ("Accountant") as the Trustee accountant to
26
     prepare and file tax returns and perform tax analysis; to analyze tax claims filed in this case, if
27
     necessary; to investigate and analyze for potential recoveries including analysis of potential
28


Case: 20-10381      Doc# 13      Filed: 07/22/20    Entered: 07/22/20 16:32:33         Page 1 of 3
 1
     avoidance issues, if necessary; including to prepare a solvency analysis, if necessary; to testify as
 2
     to avoidance issues, to prepare wage claim withholding computations and payroll tax returns, if
 3
     necessary; to serve as Trustee's general accountant and to consult with the Trustee and the
 4
     Trustee’s counsel as to those matters.
 5
             3. The accountant has indicated a willingness to perform the services required by the
 6
     Applicant. The Applicant desires an order authorizing the Trustee to pay the Accountant for
 7
     services rendered and costs and expenses advanced or incurred in the rendering of such services
 8
     after a hearing duly noticed to creditors or other parties in interest, the United States Trustee and
 9
     subject to review for reasonableness by this Court. The normal billing rates for the Accountant
10
     are as follows:
11
                            Partners                        $400-535/hour
12
                            Senior Accountant               $250-380/hour
13
                            Junior Accountant               $150-240/hour
14

15
             4. The Applicant has investigated the qualifications of the Accountant. The Applicant is
16
     informed and believes, and based thereon allege, that except for the Accountant's employment by
17
     the Applicant in unrelated cases, neither the Accountant nor its employees have any connections
18
     with the debtor, creditors, or any party in interest, their respective attorneys or accountants, or the
19
     United States Trustee or any other person employed by the office of the United States Trustee and
20
     that the employment of the Accountant on the conditions set forth herein is in the best interest of
21
     creditors.
22
             5. To the Applicant's best information and belief, the Accountant does not hold an interest
23
     adverse to the estate, and they are disinterested persons as required by 11 USC Section 327(a).
24
             6. The Applicant is informed and believes, and based thereupon alleges, that this is proper
25
     case for the entry of an order without notice to creditors in that the matters to be ruled upon are
26
     purely administrative in nature and any fees paid or to be paid will be subject to Court review
27
     after notice and hearing.
28


Case: 20-10381     Doc# 13       Filed: 07/22/20    Entered: 07/22/20 16:32:33         Page 2 of 3
 1
            7. This is the entire agreement of the parties and there is no separate employment
 2
     agreement.
 3

 4
            WHEREFORE, the Applicant prays that this court make and enter its order:
 5
            1. Authorizing the Applicant to employ Bachecki, Crom & Co., LLP, Certified Public
 6
     Accountants, as the accountant in this case;
 7
            2. Authorizing the Applicant to pay the Accountant services rendered and for the costs
 8
     and expenses advanced or incurred in the rendering of such services after a hearing duly noticed
 9
     to the Office of the United States Trustee, creditors and other parties in interest and subject to
10
     review for reasonableness by this court, and;
11
            3. For such other relief as may be proper.
12

13
     DATED: July 20, 2020                            /S/ Timothy W. Hoffman, Trustee
14                                                   ___________________________________
                                                     TIMOTHY W. HOFFMAN, Trustee for the Estate
15                                                   of FIRST INTERSTATE CONTRACTORS, INC.
16
     DATED: July 22, 2020
17                                                   /S/ Steven M. Olson
                                                     ____________________________________
18                                                   STEVEN M. OLSON
                                                     Counsel for TIMOTHY W. HOFFMAN, Trustee
19

20

21

22

23

24

25

26

27

28


Case: 20-10381     Doc# 13     Filed: 07/22/20       Entered: 07/22/20 16:32:33       Page 3 of 3
